             Case 3:07-cv-05944-JST Document 4964 Filed 10/14/16 Page 1 of 4



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10   Mitsubishi Electric US, Inc., and Mitsubishi Electric Visual
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11
                                IN THE UNITED STATES DISTRICT COURT
12
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
13
                                          SAN FRANCISCO DIVISION
14
     IN RE: CATHODE RAY TUBE (CRT)                           MDL No. 1917
15   ANTITRUST LITIGATION
                                                             Case No. 3:14-cv-02058-JST
16
     CRAGO d/b/a DASH COMPUTERS, INC., et al.,               Master File No. 3:07-cv-05944-JST
17   on its own behalf and on behalf of similarly situated
     parties,                                                STIPULATION AND [PROPOSED] ORDER
18                                                           REGARDING DATE TO SUBMIT EXPERT
                                   Plaintiff,                REPORTS AND DATE FOR DPPS TO
19                                                           RESPOND TO MITSUBISHI ELECTRIC
            v.                                               DEFENDANTS’ MOTION FOR RELIEF
20                                                           FROM NONDISPOSITIVE PRETRIAL
     MITSUBISHI ELECTRIC CORPORATION, et al.,                ORDER OF SPECIAL MASTER
21
                                   Defendants.               Judge: Hon. Jon S. Tigar
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            STIPULATION AND [PROPOSED] ORDER REGARDING DATE TO SUBMIT EXPERT REPORTS AND
            DATE FOR DPPS’ TO RESPOND TO MITSUBISHI ELECTRIC DEFENDANTS’ MOTION FOR RELIEF
                         FROM NONDISPOSITIVE PRETRIAL ORDER OF SPECIAL MASTER
                      Case No. 3:14-cv-02058-JST; Master File No. 3:07-cv-05944-JST; MDL No. 1917
              Case 3:07-cv-05944-JST Document 4964 Filed 10/14/16 Page 2 of 4



 1          The undersigned Mitsubishi Electric Defendants and the Direct Purchaser Plaintiffs (“DPPs”)

 2   have conferred and through their counsel, and subject to the Court’s approval, HEREBY STIPULATE
 3
     AS FOLLOWS:
 4
            WHEREAS on May 3, 2016, this Court set a number of pre-trial schedules in this case. As is
 5
     relevant to this stipulation, the Court directed the Mitsubishi Electric Defendants to submit rebuttal reports
 6
     of their expert witnesses on October 7, 2016. (Dkt. 4628, docketed May 4, 2016);
 7

 8          WHEREAS on September 28, 2016, the Court directed any parties, notably the DPPs, wishing to

 9   respond to the Mitsubishi Electric Defendants’ Motion for Relief from Nondispositive Pretrial Order of
10   Special Master (Dkt. 4802), to do so before October 7, 2016 (Dkt. 4893);
11
            WHEREAS the Court granted the parties’ stipulation filed on October 3, 2016 extending the
12
     October 7, 2016 deadlines to October 21, 2016 (Dkt. 4920);
13
            WHEREAS the Mitsubishi Electric Defendants and the DPPs continue to be engaged in settlement
14

15   discussions, and have made additional, substantial progress in resolving their dispute. They believe that

16   they will be able to resolve this case, such that it will be unnecessary for the Mitsubishi Electric Defendants

17   to submit expert reports or the DPPs to respond to the Mitsubishi Electric Defendants’ objections to the
18   Special Master’s Proposed Order;
19
            WHEREAS the parties currently anticipate that they will make substantial progress in resolving
20
     this dispute by November 21, 2016;
21
            WHEREAS the parties further believe that progress will be advanced in this case if the Court
22

23   schedules the case for a status conference, the parties request that this matter be added to the agenda of the

24   previously scheduled hearing in this case on November 17, 2016 such that the parties can advise the Court

25   at that time whether the matter has been resolved and they may obtain the Court’s guidance if necessary;
26
            IT IS HEREBY STIPULATED AND AGREED, by and between counsel for the undersigned
27
     plaintiffs and defendants, and subject to the Court’s approval, that:
28                                                          1
            STIPULATION AND [PROPOSED] ORDER REGARDING DATE TO SUBMIT EXPERT REPORTS AND
            DATE FOR DPPS’ TO RESPOND TO MITSUBISHI ELECTRIC DEFENDANTS’ MOTION FOR RELIEF
                         FROM NONDISPOSITIVE PRETRIAL ORDER OF SPECIAL MASTER
                      Case No. 3:14-cv-02058-JST; Master File No. 3:07-cv-05944-JST; MDL No. 1917
             Case 3:07-cv-05944-JST Document 4964 Filed 10/14/16 Page 3 of 4



 1          1. The October 21, 2016 deadlines shall be extended to November 21, 2016;

 2          2. This matter may be added to the agenda of the November 17, 2016 status hearing in this case for
 3
               the parties to advise the Court of the status of the case and obtain the Court’s guidance if
 4
               necessary.
 5
            IT IS SO STIPULATED
 6
     Dated: October 13, 2016                                   By:    /s/ Michael T. Brody
 7                                                                    Michael T. Brody
 8                                                                    Terrence J. Truax
                                                                      Charles B. Sklarsky
 9                                                                    Michael T. Brody
                                                                      Gabriel A. Fuentes
10
                                                                      /s/ R. Alexander Saveri
11                                                                    Guido Saveri
                                                                      R. Alexander Saveri
12                                                                    Geoffrey C. Rushing
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16                                                                    Lead Counsel for the Direct
                                                                      Purchaser Plaintiffs
17

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28                                                          2
            STIPULATION AND [PROPOSED] ORDER REGARDING DATE TO SUBMIT EXPERT REPORTS AND
            DATE FOR DPPS’ TO RESPOND TO MITSUBISHI ELECTRIC DEFENDANTS’ MOTION FOR RELIEF
                         FROM NONDISPOSITIVE PRETRIAL ORDER OF SPECIAL MASTER
                      Case No. 3:14-cv-02058-JST; Master File No. 3:07-cv-05944-JST; MDL No. 1917
             Case 3:07-cv-05944-JST Document 4964 Filed 10/14/16 Page 4 of 4



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 8   Mitsubishi Electric US, Inc., and Mitsubishi Electric
     Visual Solutions America, Inc.
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            PURSUANT TO STIPULATION, IT IS SO ORDERED.
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12
                   October 14, 2016
            Date: ______________________                         ______________________________
13                                                                     Hon Jon S. Tigar
                                                                       United States District Judge
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            STIPULATION AND [PROPOSED] ORDER REGARDING DATE TO SUBMIT EXPERT REPORTS AND
            DATE FOR DPPS’ TO RESPOND TO MITSUBISHI ELECTRIC DEFENDANTS’ MOTION FOR RELIEF
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